ONDNABWN

FENWICK & 9
West LLP

=—T0
11
12
13
14
15
16
17
18
he)
20
Z1
22
23
24
25
26
27
28

https://mail-attachment.googleusercontent.com/attachment/...7HRUHFDnpqiKLGIZ0-zjRYigepj7KrLgvV-EzdcewtSgDrJqeUp2i8

 

Case 5:20-cv-09340-NC Document 74

DEAN S. KRISTY (CSB No. 157646)
dkristy@fenwick.com

JENNIFER BRETAN (CSB No. 233475)
jbretan@fenwick.com

CASEY O’NEILL (CSB No. 264406)
coneill(@fenwick.com

JOSHUA PARR (CSB No. 318549)
jparr@fenwick.com

FENWICK & WEST LLP

555 California Street, 12th Floor

San Francisco, CA 94104

Telephone: 415.875.2300

Facsimile: 415.281.1350

FELIX LEE (CSB No. 197084)
flee(@fenwick.com

FENWICK & WEST LLP

801 California Street

Mountain View, CA 94041
Telephone: 650.988.8500
Facsimile: 650.938.5200

Attorneys for Defendants Temujin Labs Inc.
(Delaware), Temujin Labs Inc. (Cayman), and the
Individual Defendants

UNITED STATES DISTRICT COURT

Filed 07/09/21

Page 1 of 2

NORTHERN DISTRICT OF CALIFORNIA

SAN JOSE DIVISION
ARIEL ABITTAN, Case No.: 5:20-cv-09340
Plaintiff, DECLARATION OF YUTING CHEN
V. Judge: Hon. Nathanael M. Cousins

LILY CHAO (A/K/A TIFFANY CHEN, A/K/A
YUTING CHEN), DAMIEN DING (A/K/A
DAMIEN LEUNG, A/K/A TAO DING),
TEMUJIN LABS INC. (A DELAWARE
CORPORATION), AND TEMUJIN LABS INC.
(A CAYMAN CORPORATION)

Defendants,

and
EIAN LABS INC.,

Nominal Defendant.

 

 

 

I, Yuting Chen, hereby state and declare as follows:

1. I have personal knowledge of the matters set forth in

this declaration and, if called upon to do so, could and would

 

7/9/21 FY 12:27
Ra: 1/2
Case 5:20-cv-09340-NC Document 74 Filed 07/09/21 Page 2 of 2

testify competently as to the matters described below.

2. I am aware that plaintiff Ariel Abittan has
submitted a declaration in this matter in which he makes
allegations about an individual who he claims is Lily Chao, and
that in this case, he appears to confuse me with Lily Chao.

3. I am not Lily Chao and Lily Chao is not my sister.

4, I have occasionally stayed at the property at 69
Isabella Avenue in Atherton prior to this year, and act as an
informal manager of the property, but no one has lived there in
2021. I have a housekeeping company come in to clean the
property, but the housekeepers do not live there.

I declare under penalty of perjury under the laws of the
United States of America that the foregoing is true and correct.

Executed this 9th day of July, 2021 at Palo Alto, California.

‘
ny, Chan
Yuting Chen

 

DECL. OF Y. CHEN
Case No. 5:20-cv-09340-NC

https://mail-attachment.googleusercontent.com/attachment/...7HRUHFDnpq1KLGIZ0-zjRYigcpj7KrLgvV-EzdewtSgDrJqeUp2i8 7/9/21 ae ce
TAG: 2

 
